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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

MICHAEL JONES,                                        )
                                                      )
         Plaintiff,                                   )
                                                      ) Case No. 4:21-CV-00137
v.                                                    )
                                                      )
CITY OF ST. LOUIS, et al.,                            )
                                                      )
         Defendants.                                  )
                                                      )

                              DEFENDANTS’ MOTION TO DISMISS

         COME NOW Defendants City of St. Louis, Jeff Carson, Michael Guzy, Charlene

Deeken, and Dale Glass (“Defendants”), through counsel, and move this Court to dismiss this

action against them for failure to state a claim upon which relief can be granted under Federal

Rule of Civil Procedure 12(b)(6). In support, Defendants state the following:

         1.      Plaintiff alleges that in August 2013 he was charged in St. Louis City with one

         felony and one misdemeanor. Doc. 1 ¶ 13. He was held at the St. Louis Medium Security

         Institution (“MSI”) pending trial. Id. ¶ 14. On November 26, 2013, Plaintiff’s case was

         dismissed. Id. ¶ 16. Plaintiff alleges he remained wrongfully incarcerated for an

         additional eight months at MSI after his charges were dismissed. Id. ¶¶ 16-18. Plaintiff

         was released from custody on or after July 24, 2014. Id. ¶ 18.

         2.      In this action, Plaintiff brings this ten-count Complaint seeking damages as a

         result from his eight-month period of incarceration during which there were no charges

         pending against him. He also seeks damages for having been subjected to alleged

         “unsanitary” and other “poor conditions” during his confinement, including mold,




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       outbreaks of scabies and lice, asbestos insulation, bug and animal infestations, and unsafe

       temperature regulation. Id. ¶¶ 21-25.

       3.      Specifically, Plaintiff brings three claims against individual Defendants under §

       1983 (Counts I, II, III), six claims against all Defendants, including City, under § 1983

       (V, VI, VII, VIII, IX, X), and one state law claim against individual Defendants for false

       imprisonment (Count IV).

       4.      Defendants now move to dismiss all Plaintiff’s claims against them because: 1)

       Plaintiff’s claims are barred by the applicable statute of limitations; 2) Plaintiff’s § 1983

       claims against the individual Defendants fail as a matter of law; 3) Plaintiff’s Complaint

       fails to state a claim for relief against City under § 1983; and 4) Plaintiff’s Complaint

       fails to state a claim for false imprisonment under Missouri law.

       5.      Defendants submit herewith a memorandum in support of their motion, which sets

       out the relevant arguments and citations to authority on which Defendants rely.

       WHEREFORE, Defendants City of St. Louis, Jeff Carson, Michael Guzy, Charlene

Deeken, and Dale Glass pray the Court grant their Motion to Dismiss for Failure to State a Claim

with prejudice, and for any further relief the Court deems just and reasonable.




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                                            Respectfully submitted,

                                            MICHAEL GARVIN,
                                            City Counselor

                                               /s/ Abby Duncan
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                                            Attorney for Defendants


                               CERTIFICATE OF SERVICE

     I hereby certify that the foregoing was filed on April 12, 2021, and served via the Court’s
electronic filing system upon all counsel of record.


                                               /s/ Abby Duncan
                                             Abby Duncan
                                             Associate City Counselor




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